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                UNITED STATES DISTRICT COURT MIDDLE DISTRICT OF FLORIDA
  Danesh Noshirvan,}


  v.                                                                        2:23-cv-01218


  Jennifer Couture, et al

  JOHN DOE 5’S NOTICE OF MOTION AND MOTION TO HOLD VICKI MODAFFARI IN
  CONTEMPT FOR PERJURY AND FOR SANCTIONS AGAINST PLAINTIFF FOR FALSE
  IDENTIFICATION OF JOSEPH A. CAMP
  TO THE HONORABLE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
  PLEASE TAKE NOTICE that John Doe 5, who spoofed the phone number 720-454-5240
  and who is NOT Joseph A. Camp, hereby moves this Court for an Order (1) holding Vicki
  Modaffari in contempt for perjured affidavit given under oath; and (2) imposing sanctions
  on Plaintiff Danesh Noshirvan and his attorney for his ongoing, intentional misidentification
  of Joseph A. Camp as “John Doe”, “John Doe 2” and now John Doe 5, without evidence or
  lawful basis.
  This Motion is brought pursuant to the Court’s inherent authority to sanction bad-faith
  conduct and to address perjury, as well as under Federal Rule of Civil Procedure 11(c) and
  18 U.S.C. § 401.


  I. INTRODUCTION
  Plaintiff Danesh Noshirvan has perpetuated a falsehood that Joseph A. Camp is John Doe,
  John Doe 2 and now the current John Doe 5, accusations with zero evidentiary support.
  This baseless claim was recklessly repeated in Plaintiff’s opposition brief filed on April 7,
  2025, and further compounded by perjured testimony from Plaintiff’s witness, Vicki
  Modaffari provided via sworn affidavit on April 8th, 2025.
  As of the date of this filing, no affidavit, declaration, or verifiable record links Joseph A.
  Camp to any acts allegedly committed by "John Does" in this case -mere speculation
  without evidence. Nonetheless, Plaintiff and his agents continue to state and rely on this
  lie, to the detriment of both Mr. Camp and the interests of justice.


  II. STATEMENT OF FACTS
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     1. On April 7, 2025, Plaintiff submitted a filing identifying Joseph A. Camp as “John
        Doe” without evidence, in direct violation of Rule 11(b)(3).
     2. Plaintiff has never filed a motion or submitted any declaration verifying the identity
        of “John Doe and John Doe 2” as Joseph A. Camp. Nor the identity of John Doe 5
     3. Vicki Modaffari, under oath, offered sworn statements asserting Joseph A. Camp’s
        identity as “John Doe 5” statements that are demonstrably false, made knowingly,
        and without personal knowledge or corroborating evidence. Her entire basis of this
        accusation is that she is familiar with Joseph A. Camp’s “voice”.
     4. As John Doe 5, the calling party, I can attest that I used voice spoofing AI software
        to pretend to be Joseph A. Camp and I also used regularly and publicly available
        phone number spoofing software to pretend to be Joseph A. Camp.
     5. By submitting the false statements Vickie’s conduct constitutes perjury under 18
        U.S.C. § 1621 and is further sanctionable under 18 U.S.C. § 401(3) for obstruction
        of court proceedings via false testimony.


  III. LEGAL STANDARD
  A. Contempt and Perjury
  A federal court may hold a person in contempt under 18 U.S.C. § 401 for
  “[misbehavior]…in its presence or so near thereto as to obstruct the administration of
  justice.” Knowingly giving false testimony under oath is contemptuous and may also rise to
  the level of criminal perjury under 18 U.S.C. § 1621.
  B. Sanctions under Rule 11(c)
  As described above, Rule 11(c) permits sanctions against a party or attorney who presents
  false factual contentions without evidentiary support. Repeatedly naming a non-party (Mr.
  Camp) as “John Doe 5” (the calling party) without basis falls squarely within this provision.


  IV. ARGUMENT
  Plaintiff has acted in bad faith by attempting to force a private citizen, Joseph A. Camp,
  into this action through fraudulent misrepresentation and by relying on false testimony
  from Vicki Modaffari. Their actions are not simply negligent — they are intentional,
  malicious, and obstructive.
  The perjury by Vicki Modaffari undermines the integrity of these proceedings. Plaintiff’s
  repetition of this false identity—after being put on notice of its inaccuracy—is a deliberate
  abuse of judicial process warranting immediate correction and sanction.
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  V. RELIEF REQUESTED
  WHEREFORE, John Doe 5 respectfully requests that this Honorable Court:
     1. Hold Vicki Modaffari in contempt of court for providing knowingly false testimony
        under oath;
     2. Refer the matter to the U.S. Attorney for investigation under 18 U.S.C. § 1621, or
        issue an order to show cause;
     3. Sanction Plaintiff Danesh Noshirvan and/or his attorney under FRCP 11(c) for
        continuing to assert that Joseph A. Camp is “John Doe 5” without evidentiary basis;
     4. Strike from the record any filings that identify Mr. Camp as “John Doe 5” without
        proper motion or evidence;
     5. Award any other relief this Court deems appropriate, including attorney’s fees,
        costs, or monetary fines.


  April 8th, 2025.
  Respectfully submitted,
  John Doe 5
